83 F.3d 415
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Alvin HERRING, Sr., Plaintiff-Appellant,v.YADKINVILLE DEPARTMENT OF CORRECTION;  Jerry Hawks,Correctional Officer;  Paul Butcher, CorrectionalOfficer, Defendants-Appellees.
    No. 95-7612.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided April 23, 1996.
    
      David Alvin Herring, Sr., Appellant Pro Se.  Jane Ray Garvey, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Herring v. Yadkinville Dep't of Corr., No. CA-94-406 (M.D.N.C. Sept. 18, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    